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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Richmond Division
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                                                                      CLERK, U.S. DISTRICT COURT
                                                                            RICHMOND VA

 UNITED STATES OF AMERICA

 v.                                              Criminal No. 3:09cr133

 RODNEY LORENZO WYATT, JR.



                                  MEMORANDUM OPINION

       This matter is before the Court on the defendant's pro se

 MOTION FOR MODIFICATION OR REDUCTION OF SENTENCE BASED UPON AN

 INTERVENING        POST-SENTENCE      CHANGE    IN THE UNITED      STATES    STATUTE

 PERTAINING TO THE 18 TO 1 CRACK COCAINE LAW WHICH HAS BEEN CHANGED

 ACCORDING TO THE 115th CONGRESS OF THE UNITED STATES S. 756,                    §   404

 APPLICATION OF THE FAIR SENTENCING ACT and TITLE 18                         U.S. C.   §


 3582 (C} (1) (b}     (ECF No.      87),   the defendant's pro se SUPPLEMENT

 thereto    ( ECF No.    8 6} ,     the DEFENDANT' S SUPPLEMENTAL MOTION FOR

 RELIEF PURSUANT TO THE FIRST STEP ACT OF 2018                 (ECF No. 94),         the

 response    (ECF No.        96),    and   the   reply   (ECF No.    98).       Having

 considered the forgoing, along with the Presentence Report and the

 record in the case,         the MOTION FOR MODIFICATION OR REDUCTION OF

 SENTENCE BASED UPON AN INTERVENING POST-SENTENCE CHANGE IN THE

 UNITED STATES STATUTE PERTAINING TO THE 18 TO 1 CRACK COCAINE LAW

 WHICH HAS BEEN CHANGED ACCORDING TO THE 115th CONGRESS OF THE

 UNITED STATES S. 756, § 404 APPLICATION OF THE FAIR SENTENCING ACT

 and TITLE 18       u.s.c.   § 3582(C) (1) (b)    (ECF No. 87), the defendant's
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 pro se SUPPLEMENT      thereto      (ECF No .     8 6) ,     and   the DEFENDANT' S

 SUPPLEMENTAL MOTION FOR RELIEF PURSUANT TO THE FIRST STEP ACT OF

 2018 (ECF No. 94) will be denied.


                                      BACKGROUND

       Rodney   Lorenzo Wyatt,       Jr.       pled guilty        to   conspiracy     to

 distribute, and possession with intent to distribute, fifty                        (SO)

 grams or more of cocaine base and 500 grams or more of cocaine

 hydrochloride in violation of 21 U.S.C. § 846.                     The record shows

 that, between October 1, 2008 and continuing through April 1, 2009,

 the defendant distributed significant amounts of crack cocaine and

 powder cocaine to drug dealers.                Indeed, he acknowledged that,

 during the time at issue, he purchased for distribution one ounce

 of cocaine hydrochloride at least ten times; 62 grams of cocaine

 hydrochloride    at   least   six    times;      and       125   grams   of   cocaine

 hydrochloride at least five times for a total of 1,277 grams of

 cocaine hydrochloride, much of which was cooked into crack cocaine.

 Wyatt also acknowledges that, during the conspiracy, he purchased

 for redistribution one ounce of crack cocaine at least ten times,

 62 grams of crack cocaine at least three times, and 125 grams of

 crack cocaine at least three times for a total of 841 grams of

 crack cocaine.    On September 11, 2009, the defendant was sentenced

 to 262 months confinement based upon the career offender provision

 that resulted from two convictions of drug trafficking offenses.


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                                      DISCUSSION

       The threshold issue in this case is whether Wyatt is eligible

 for release under Section 404 of the First Step Act.                        And, while

 the   quantity      of    controlled       substances      attributable        to    the

 defendant does not determine his eligibility for consideration of

 a sentence modification under the First Step Act, the quantity is

 highly   relevant        in    assessing   whether    to   grant      the    requested

 modification.

       The United States contends that,               because of the amount of

 controlled    substances          admittedly    possessed       with        intent    to

 distribute    and    distributed by Wyatt,           he    is   not    eligible      for

 modification of sentence under the First Step Act.                     Wyatt argues

 that eligibility for modification of sentence under the First Step

 Act is determined by the amount of controlled substances alleged

 in the indictment.            Neither position is correct.

       As explained in United States v. Mabry, 2019 U.S. Dist. LEXIS

 192435, October 31, 2019, eligibility for modification of sentence

 under Section 404 of the First Step Act does not depend on the

 quantity of     controlled substance.             See also United States v.

 Hardnett,           F. Supp.3d _ _ , No. 3:03cr12, 2019 WL 5445888 at

 *1 (E.D. Va. Oct. 24, 2019).            For the reasons set forth in Mabry,

 the Court concludes that Wyatt is eligible for modification of

 sentence under the First Step Act.             That is because, before August

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 3, 2010, Wyatt violated a federal criminal statute, the statutory

 penalties          for which were modified by Section 203                    of the     Fair

 Sentencing Act of                2010.     The United States'           arguments     to the

 contrary are rejected for the reasons                          set forth in Mabry and

 Hardnett.          However, whether to modify the sentence is quite another

 matter.

         To begin,          the conspiracy of which Wyatt was a part was a

 significant one and, during the year that he was a member of it,

 Wyatt distributed significant quantities of                            crack cocaine     and

 powder        cocaine       to     distributors        who     then    distributed     those

 controlled,         and dangerous,          substances within the Richmond area.

 Further, it appears from the record that Wyatt had been involved

 extensively in drug dealing for a                       considerable period of time

 before he engaged in the crimes of which he was convicted in this

 case.     Those earlier convictions are outlined in paragraphs 35 and

 37 of the Presentence Report.                   Further, the record shows that the

 offense       of     conviction occurred after Wyatt                   had been extended

 leniency        in     previous          drug   distribution          convictions.       His

 conviction record also includes a particularly egregious act of

 violence described in paragraph 32 of the Presentence Report.

         The    record       also     reflects        that,    while    in   prison,    Wyatt

 participated          in    a    goodly     number     of    educational     programs    and

 completed his GED.                 He has filed a            re-entry plan and various

 certificates attesting to the vocational programs in which he has

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 participated successfully while in prison.          All of that training

 (vocational and educational) is indeed a laudable use of his time

 while in prison,      and it reflects a      significant effort toward

 rehabilitation.     Additionally, to Wyatt's credit he has received

 support in the form of letters from individuals who work in the

 prison system.     Those laudable activities do not, however, offset

 the fact that Wyatt is a rightfully adjudged career offender within

 the meaning of the law and that his offense conduct in this case

 is especially egregious.      Nor does it offset the fact that he has

 not learned from previous extensions of leniency for very serious

 criminal conduct.

       On balance, the record calls for the exercise of discretion

 in denying the request for modification.       The defendant's continued

 incarceration is necessary to achieve the ends of 18 U.S. C.                 §


 3553 (a) ,   especially protection of the public and promotion of

 respect for the law.       So too is the imposed five year term of

 supervised release.

                                 CONCLUSION

       For the reasons set forth above, the defendant's prose MOTION

 FOR MODIFICATION OR REDUCTION OF SENTENCE BASED UPON AN INTERVENING

 POST-SENTENCE CHANGE IN THE UNITED STATES STATUTE PERTAINING TO

 THE 18 TO 1 CRACK COCAINE LAW WHICH HAS BEEN CHANGED ACCORDING TO

 THE 115th CONGRESS OF THE UNITED STATES S. 756, § 404 APPLICATION

 OF THE FAIR SENTENCING ACT and TITLE 18 u.s.c.            §   3582 (C) (1) (b)

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 (ECF No. 87}, the defendant's prose SUPPLEMENT thereto (ECF No.

 86), and the DEFENDANT'S SUPPLEMENTAL MOTION FOR RELIEF PURSUANT

 TO THE FIRST STEP ACT OF 2018 (ECF No. 94) will be denied.

       It is so ORDERED.



                                               /s/
                              Robert E. Payne
                              United States District Judge




 Richmond, Virgini~/
 Date: November _/..l, 2019




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